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                 IN THE UNITED STATES DISTRICT COURT


                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                            STATESBORO DIVISION



THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                             6:18CR14


JOHN DILLON JOYNER,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement.     Therefore,    a   hearing   in    this      case   is   deemed

unnecessary.    All motions are dismissed.



    SO ORDERED, this m- day of February, 2019.

                                 UNITED
                                   JITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
